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                               UNITED STATES DISTRICT COURT
                                   Northern District of Illinois
                                   219 South Dearborn Street
                                     Chicago, Illinois 60604

Thomas G. Bruton                                                                  312-435-5670
Clerk



Date: 3/11/25                                        Case Number: 1:24-cv-12519

Case Title: Michael Salcedo v. The Partnerships      Judge: Matthew F. Kennelly
            and Unincorporated Associations
            Identified on Schedule A
                   DOCUMENT REMOVED DUE TO REASON(S) CHECKED BELOW

      Document entered in error.

✔ Document withdrawn or removed per court order [69 ] of Judge Kennelly
      Incorrect Document linked.

      Other:

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                                                     Thomas G. Bruton, Clerk

                                                     By: /s/ K. Rogers
                                                        Deputy Clerk




Rev. 11/29/2016
